               IN THE UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )     Criminal No. 3:07-00223
                                                    )     Judge Trauger
[1] REGGIE K. JACKSON                               )

                                        ORDER

       It is hereby ORDERED that the revocation hearing scheduled for January 13, 2014 at

11:30 a.m. is RESET for the same day at 2:00 p.m.

       It is so ORDERED.

       ENTER this 10th day of January 2014.




                                                    ________________________________
                                                          ALETA A. TRAUGER
                                                            U.S. District Judge




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